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     Federal Defender
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     Assistant Federal Defender
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     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    JANELLE MILLER
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8
                          IN THE UNITED STATES DISTRICT COURT
9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,       )     No. 2:06-cr-00495-MCE
12                                   )
                     Plaintiff,      )     STIPULATION AND ORDER TO REDUCE
13                                   )     SENTENCE PURSUANT TO 18 U.S.C.
          v.                         )     § 3582(c)(2)
14                                   )
     JANELLE MILLER,                 )     RETROACTIVE CRACK COCAINE REDUCTION
15                                   )     CASE
                     Defendant.      )
16                                   )     Judge: Honorable MORRISON C.
     _______________________________ )     ENGLAND, Jr.
17
          Defendant, JANELLE MILLER, by and through her attorney, Assistant
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     Federal Defender David M. Porter, and plaintiff, UNITED STATES OF
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     AMERICA, by and through its counsel, Assistant U.S. Attorney Jason
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     Hitt, hereby stipulate as follows:
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          1.   Pursuant to 18 U.S.C. § 3582(c)(2), this court may reduce the
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     term of imprisonment in the case of a defendant who has been sentenced
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     to a term of imprisonment based on a sentencing range that has
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     subsequently been lowered by the Sentencing Commission pursuant to 28
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     U.S.C. § 994(o);
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          2.   Ms. Miller was sentenced by this Court on June 10, 2010, to a
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     term of 48 months.
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1    Her guideline range was 70 to 87 months, based on a total offense level
2    of 25 and criminal history category III, and she received a 30%
3    reduction from the low end of the applicable guideline range;
4          3.   The sentencing range applicable to Ms. Miller was
5    subsequently lowered by the United States Sentencing Commission by
6    amendment made retroactive on June 30, 2011;
7          4.   Accordingly, Ms. Miller's adjusted offense level has been
8    reduced from 25 to 21, which at Criminal History Category III produces
9    a new applicable guideline range of 46 to 57 months.          A new sentence
10   based on the resulting guideline range, the prior computation of
11   specific offense characteristics, adjustments, criminal history
12   category, and departures, and application of the same 30% reduction Ms.
13   Miller received at the initial sentencing would result in a sentence of
14   32 months.
15         5.   Ms. Miller was not sentenced at a congressionally mandated
16   minimum sentence, and she is therefore eligible for a reduction of her
17   sentence by retroactive application of Amendment 750 pursuant to 18
18   U.S.C. § 3582(c)(2) and policy statement U.S.S.G. § 1B1.10;
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1          6.   Accordingly, the parties respectfully request the court enter
2    the order lodged herewith resentencing Ms. Miller to a sentence of 32
3    months.
4    Dated:     December 16, 2011
5    Respectfully submitted,
6    BENJAMIN B. WAGNER                     DANIEL J. BRODERICK
     United States Attorney                 Federal Defender
7
8      /s/ Jason Hitt                         /s/ David M. Porter
     JASON HITT                             DAVID M. PORTER
9    Assistant U.S. Attorney                Assistant Federal Defender
10   Attorney for Plaintiff                 Attorney for Movant
     UNITED STATES OF AMERICA               JANELLE MILLER
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1                                        ORDER
2         On June 10, 2010, this Court sentenced Ms. Miller to a term of
3    imprisonment of 48 months.    The parties agree, and the Court finds,
4    that Ms. Miller is entitled to the benefit of the retroactive amendment
5    reducing crack cocaine penalties, which reduces her applicable offense
6    level from 25 to 21.
7         IT IS HEREBY ORDERED that the term of imprisonment imposed on June
8    10, 2010 is reduced to 32 months.
9         IT IS FURTHER ORDERED that all other terms and provisions of the
10   original judgment remain in effect.
11        Unless otherwise ordered, Ms. Miller shall report to the United
12   States Probation office closest to the release destination within
13   seventy-two hours after her release.
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     Dated: December 20, 2011
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16                                       _____________________________
                                         MORRISON C. ENGLAND, JR.
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                                         UNITED STATES DISTRICT JUDGE
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